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                        UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA
                             WESTERN DIVISION



   RUDI LEO LONDT,                        Case No. CV 20-01161-FMO (DFM)

           Plaintiff,                     JUDGMENT

               v.

   BARRETT DAFFIN FRAPPIER
   TREDER AND WEISS, LLP, et al.,

           Defendants.



        Pursuant to the Court’s Order Accepting the Report and
  Recommendation of United States Magistrate Judge,
        IT IS ADJUDGED that the Second Amended Complaint and this entire
  action are dismissed with prejudice.



   Date: 10/12/2021                        _/s/__________________________
                                           FERNANDO M. OLGUIN
                                           United States District Judge
